     Case: 1:18-cv-06555 Document #: 71 Filed: 08/02/19 Page 1 of 2 PageID #:6135




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICHEMONT INTERNATIONAL SA, CARTIER
INTERNATIONAL A.G., MONTBLANC-                           Case No. 18-cv-06555
SIMPLO GMBH, CHLOE S.A.S., VAN CLEEF &
ARPELS SA, and OFFICINE PANERAI A.G.,                    Judge Joan B. Gottschall

               Plaintiffs,                               Magistrate Judge Susan E. Cox

v.

XIAO MEICHEN, et al.,
               Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Plaintiffs Richemont International SA, Cartier International A.G., Montblanc-Simplo

GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and Officine Panerai A.G. (collectively,

“Plaintiffs”), hereby dismiss this action with prejudice as to the following Defendant:

                 Defendant Name                                        Line No.
                 CX-Shirling Store                                       284
   Case: 1:18-cv-06555 Document #: 71 Filed: 08/02/19 Page 2 of 2 PageID #:6135




Dated this 2nd day of August 2019.   Respectfully submitted,


                                     /s/ Allyson M. Martin
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                                     Cartier International A.G., Montblanc-Simplo
                                     GmbH, Chloe S.A.S., Van Cleef & Arpels SA, and
                                     Officine Panerai A.G.




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